         Case 1:22-cr-00061-RBW Document 20 Filed 03/09/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :
           v.                                    :    CASE NO. 22 CR 61 (RBW)
                                                 :
                                                 :
 JON NICHOLAS HENEGHAN                           :    VIOLATIONS:
 CAROL O’NEAL KICINSKI,                          :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a Restricted
                          Defendant.             :    Building or Grounds)
                                                 :    18 U.S.C. § 1752(a)(2)
                                                 :    (Disorderly and Disruptive Conduct in a
                                                 :    Restricted Building or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(D)
                                                 :    (Disorderly Conduct in a Capitol Building
                                                 :    or Grounds)
                                                 :    40 U.S.C. § 5104(e)(2)(G)
                                                 :    (Parading, Demonstrating, or Picketing in
                                                 :    a Capitol Building)


                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, JON NICHOLAS

HENEGHAN and CAROL O’NEAL KICINSKI, did knowingly enter and remain in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))
            Case 1:22-cr-00061-RBW Document 20 Filed 03/09/22 Page 2 of 3




                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, JON NICHOLAS

HENEGHAN and CAROL O’NEAL KICINSKI, did knowingly, and with intent to impede and

disrupt the orderly conduct of Government business and official functions, engage in disorderly

and disruptive conduct in and within such proximity to, a restricted building and grounds, that is,

any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President was and would be temporarily visiting, when and so that such

conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))


                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, JON NICHOLAS

HENEGHAN and CAROL O’NEAL KICINSKI, willfully and knowingly engaged in disorderly

and disruptive conduct within the United States Capitol Grounds and in any of the Capitol

Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session of

Congress and either House of Congress, and the orderly conduct in that building of a hearing before

or any deliberation of, a committee of Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))




                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, JON NICHOLAS

HENEGHAN and CAROL O’NEAL KICINSKI, willfully and knowingly paraded,

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         Case 1:22-cr-00061-RBW Document 20 Filed 03/09/22 Page 3 of 3




demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                                   Respectfully submitted,

                                                   MATTHEW M. GRAVES
                                                   United States Attorney
                                                   D.C. Bar No. 481052


                                            By:    /s/ Mona Lee M. Furst
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